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              Exhibit E
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       Our Global Presence




     Worldwide Operations




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    Our Business




      Management
Over the years we have attracted, trained and developed leaders who embody the entrepreneurial spirit
that makes us who we are today. Our success begins with our management team who practice what
they preach and lead by example. The ownership and management of Phoenix is inter-linked and leads
a cohesive team of professionals, striving for excellence and delivering value to our business partners.


Operations at Phoenix are spearheaded by the following key personnel:




     The Man Behind the Mission

                                                           • A co­founder of the company and the Executive Chairman , Gaurav has been at the helm of
                                                             the Phoenix Group and continues to be the majority shareholder
                                                           • The driving force behind the expansion of the Group from a medium sized business, into an
                                                             integrated agri­business conglomerate, active across multiple product lines and jurisdictions
                                                           • Leading the overall strategy of the group, acquisition of assets, and expansion into new
                                                             opportunities, geographies, and products, he promises and delivers sustained and steady
                                                             growth to the company and all its stakeholders
        Gaurav Dhawan                                      • Gaurav also has active interests in technology and pharmaceutical sectors
                Executive Chairman                         • He is extremely passionate about environmental sustainability, social care, and community
                                                             involvement, and applies the same in his professional and personal life
                                                           • Gaurav has a Masters in International Business from IIFT, Delhi, and has resided in Kenya,
                                                             Thailand, Singapore, and the UAE, besides having traveled extensively across the globe



     Key Management: Business Platform

                         Ekalavya Chandra                                                                       Raja Banerjee
                         18 years exp.. Ex Olam, Conagra Agtotech                                               19 years exp.. Ex G. Premjee
                         Director & Business Head ­ Rice                                                        Business Head ­ Minerals




                         Nikunj Kumar                                                                           Sudip Basu
                         13 years exp. Ex Noble Grain, Glencore                                                 23 years exp. Ex. ITC Agro
                         Business Head ­ Pulses & Specialty Crops                                               Country Head ­ Indian Agri business




                         Arup Gupta                                                                             Abhijit Roy Chowdhary
                         19 years exp. Ex G. Premjee                                                            26 years exp. Ex Louis Dreyfus, Al Khaleej Sugar
                         Country Head ­ Vietnam & Gen. Director                                                 Business Head ­ Sugar
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                        Ashish Narain                                                                 Arnab Sengupta
                        21 years exp. Ex Hayel Saeed                                                  20 years exp. Ex Thai Union Europe, Americana
                        Business Head ­ Pakistani Rice Origin                                         Business Head ­ Retail Distribution




    Key Management: Country Heads

                        Vijay Gopal Krishnamurthy                                                     Ashish Kaul
                        18 years exp.. Ex Castrol, Olam                                               26 years exp.. Ex G. Premjee
                        Head ­ West Africa                                                            Country Head ­ Kazakhstan




                        Santosh Shetty                                                                Govindasamy Subrmooney
                        26 years exp. Ex Nestlé, Eximco, Olam                                         26 years exp. Save Cash & Carry
                        Country Head ­ Mozambique                                                     Country Head ­ South Africa




                        Dembele Brahima
                        19 years exp. Ex Sodiro, Olam
                        Country Head ­ Ivory Coast




    Key Management : Central Service

                        Neeraj Gupta                                                                  Nitin Navandher
                        16 years exp.. Ex Olam, Adani                                                 17 years exp. Ex. Ernst & Young
                        Group Financial Market Controller                                             Head ­Corporate Finance




                        Sanjay Sethi                                                                  Ashok Agarwal
                        26 years exp. Ex ETG, Jain Irrigation                                         9 years exp. Ex Ernst and Young
                        Director ­ Sustainability                                                     Head ­Corporate Finance




                        Kanish Gupta                                                                  J Kiran Kumar
                        10 years exp. Ex Olam                                                         10 years exp. Ex monster.com
                        Head ­ Human Resources                                                        Head ­ Accounting




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